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From:             Ron Dyer
To:               John Marshall; Shannon Shaw; Renteria Daniel
Subject:          Rumors
Date:             Sunday, January 19, 2025 7:50:26 PM


Todays rumor:

1. Controlled Force is done on the 24 or 28 of this month. P. Newman has asked the union officials (LOE
BPA) to advise the ISS drivers not to go over to Controlled FORCE. She stated there is something in the
works for ISS.
2. The union official said he could not do that.
3. Also ISS drivers have stated USBP personnel (MCC or TOM) have stated similar comments
concerning Controlled FORCE.

I understand these are unsubstantiated rumors, and you can not comment on anything ISS does, but
some information or updates for the people who came over would be greatly appreciated.

As we all know rumors can have adverse actions on morale.  


Ronald Dyer
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